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July 8, 2020

Judge Staci M. Yandle
United States District Court
Southern District of Illinois
301 West Main Street
Benton, IL 62812

Dear Judge Yandle,

I learned for the first time last week about a case that Richard Liebowitz filed in
this Court in 2018 in my name: Craig v. PopMatters Media, Inc. He dismissed the case
and PopMatters has a motion pending for its attorney's fees. This is all a total surprise to
me. Richard blindsided me. He didn’t tell me anything about this case, or another case he
filed in the Northern District of Illinois, until yesterday after 1 demanded an explanation.

He never told me PopMatters used my photograph. He never asked me if it had
been licensed to anyone or I would have told him about my license to Sony. He never
told me he was going to file either lawsuit and he did it without my knowledge and
without my permission. He never told me PopMatters made offers to settle each case. He
never told me PopMatters filed a motion for attorney’s fees in either case. He never
consulted me about anything.

I retained Richard Liebowitz in 2016 and he filed and settled several copyright
lawsuits for me for a contingency fee. But I now understand he has been operating in
stealth mode. He does not abide by the rules of conduct set by the bar of New York or the
terms of the retainer agreement we signed in 2016, which is attached.

In the retainer agreement, he agreed to “keep You informed of the status of your
matter, and agree to explain the laws pertinent to your situation, the available course(s) of
action, and the attendant risks.” Richard violated that at every step of this case. I agreed
“to fully cooperate with the Firm in the administration of the matter” and “seriously to
consider any settlement offer that Attorneys recommend before making a decision to
accept or reject such offer.” Richard made that impossible because he never told me
about the lawsuit or PopMatters’ settlement offer.

I have now seen the response that Richard filed in this Court on June 11, 2020
without consulting me. He wrote, “Plaintiff choose the Southern District of Illinois as his
venue of choice, in part due to the availability of his counsel, Liebowitz Law Firm.” I
was never consulted about this action and did not choose to file it at all. 1 would not have
authorized filing it in this Court if Richard had asked. Richard made every choice, not me.
He also wrote that “Defendant has failed to show that Plaintiff's counsel acted in bad
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faith, and therefore the request for sanctions should be denied.” I do not know how
Richard filing a lawsuit without my knowledge could be anything other than bad faith.

Richard did all this behind my back and without my authority. I had no idea about
this lawsuit or the lawsuit in the Northern District of Illinois until I got a demand from
PopMatters’ lawyer on June 29, 2020 for the attorney’s fees award that was entered in the
Northern District of Illinois in March, also without my knowledge. I sent Richard an
email on July 6, 2020: “Richard, is this once again something you did and did not relay to
me or ask me over two years ago. I have not spoken or heard from you since Feb. 2020
and now this. Please explain what this is and how I got mixed up in this matter.” We
talked yesterday, July 7, 2020. I told him what I knew about the case and asked him,
“How come you didn’t come to me?” He had no response. He tried to put the onus on me.
“It’s par for the course” he said. “You roll the dice, you see what you get.”

I’m not the one who rolled the dice. That was all Richard. Last year in another
case I caught him negotiating a settlement under the table without my knowledge. There
are other cases that he filed in my name that I only found out about after the fact. This
whole case is malpractice, a breach of my agreement with Richard and a total fraud. Now
I know he’s a scam artist and I don’t want to be another one of his victims.

I understand that PopMatters asked for its attorney’s fees either against me under
the Copyright Act or as sanctions against Richard. He should have to pay any award, not

me. I am asking you to please consider the facts of the matter and require Richard
Liebowitz to pay the attorney’s fees to PopMatters.

Sincerely,

Glen Craig
